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                       IN THE UNITED STATES DISTRICT COURT,
                          SOUTHERN DISTRICT OF GEORGIA      16 JUL -6 PM 5:16
                                 AUGUSTA DIVISION
                                                                                     Lii.     GA.
 UNITED STATES OF AMERICA                                    Indictment No.


 V.                                                          21 U.S.C. 846
                                                             Conspiracy to Distribute and
 TERRY LORENZO GRANT                                         Possess With Intent To Distribute
                                                             Controlled Substances
 DARREN DEVALE TOWNSEND, JR.
 aka "DOLLAR"                                                21 U.S.C. 841(a)(1)
                                                             Distribution of
 CHRISTOPHER SHELTON HUNTER                                  Controlled Substances
 aka "STANK"
                                                             21 U.S.C. 841(a)(1)
 BENNELLE EVANS                                              Possession With Intent to
                                                             Distribute Controlled Substances

                                                             18 U.S.C. § 924(c)
                                                             Possession of a Firearm During a
                                                             Drug Trafficking Crime

                                                             18 U.S.C. § 922(g)(1)
                                                             Possession of a Firearm by a
                                                             Convicted Felon



       The Court having considered the Government's Motion to Seal, hereby GRANTS the

motion and ORDERS that the indictment issued in this case, the government's motion, and this

order be SEALED until further order of the Court, or until such time as the first of the

Defendants initially appears for an initial appearance following arrest, at which time this

Indictment and all related court papers shall be UNSEALED.

               DONE this     6 'r/day of                                   2016.



                                              United               rate Judge
                                              Southern District of Georgia
